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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF ALABAMA
                            NORTHERN DIVISION

ANTONIO ORLANDER JERIDO,                             )
                                                     )
      Plaintiff,                                     )
                                                     ) Case. No. 2:19cv60-RAH
      v.                                             )
                                                     )
MIKE HENLINE, et al.,                                )
                                                     )
      Defendants.                                    )

                                      ORDER

      For good cause, it is

      ORDERED that the February 3, 2022, Order (Doc. 82 and 83) and

Final Judgment are VACATED.

      On January 13, 2022, the Magistrate Judge entered a Recommendation,

(Doc. 81), to grant the Motion to Dismiss and/or for Summary Judgment, (Doc.

15), in favor of the Defendants and dismiss the case. The Plaintiff filed Objections.

(Doc. 86.) After an independent review of the file and upon consideration of the

Recommendation and Objections, it is ORDERED that:

      1. The Objections are OVERRULED. (Doc. 86.)

      2. The Recommendation of the Magistrate Judge is ADOPTED. (Doc. 81.)

      3. The Motion to Dismiss and/or for Summary Judgment (Doc. 15) be and is

hereby GRANTED in favor of the Defendants.
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4. This case is DISMISSED without prejudice.

A separate Final Judgment will be entered in accordance with this order.

DONE, on this 7th day of March, 2022.


                                /s/ R. Austin Huffaker, Jr.
                         R. AUSTIN HUFFAKER, JR.
                         UNITED STATES DISTRICT JUDGE




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